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     Everglades College, Inc.
10

11                             UNITED STATES DISTRICT COURT

12                          NORTHERN DISTRICT OF CALIFORNIA

13   THERESA SWEET, et al.,                      Case No. 3:19-cv-03674-WHA
14                    Plaintiffs,                [PROPOSED] ANSWER OF
                                                 PROPOSED INTERVENOR
15          v.                                   EVERGLADES COLLEGE, INC. TO
                                                 SUPPLEMENTAL COMPLAINT
16   MIGUEL CARDONA, in his official capacity
     as Secretary of Education, and the UNITED   Date:    August 25, 2022
17   STATES DEPARTMENT OF EDUCATION,             Time:    8:00 a.m.
                                                 Room:    12, 19th Floor
18                    Defendants.                Judge:   Honorable William Alsup
19                                               (Class Action)
20                                               (Administrative Procedure Act Case)
21

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                                                               Case No. 3:19-cv-03674-WHA
           [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC. TO
                                 SUPPLEMENTAL COMPLAINT
            Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 2 of 35



 1                                               ANSWER

 2          Proposed Intervenor Everglades College, Inc. (“ECI”) files this answer to Plaintiffs‘

 3   Class Action Complaint for Declaratory and Injunctive Relief, Doc. 1. ECI answers the

 4   numbered paragraphs of the Complaint as follows: 1

 5          1. This paragraph consists of Paintiffs‘ characterization of this lawsuit and legal

 6   conclusions to which no response is required. ECI hereby incorporates by reference its Answer

 7   to Plaintiffs’ original complaint and the responses contained therein to specific allegations in that

 8   complaint. ECI admits Secretary Cardona is now Secretary of Education.

 9          2. This paragraph consists of legal conclusions to which no response is requried. To the

10   extent a response is deemed required, denied.

11          3. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          4. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          5. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          6. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          7. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          8. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          9. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          10. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27
            1 The Complaint starts with an unnumbered paragraph containing a quote to which no
28
     response is required.
                                      1
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 3 of 35



 1           11. This paragraph consists of legal conclusions to which no response is required.

 2           12. This paragraph consists of legal conclusions to which no response is required.

 3           13. This paragraph consists of legal conclusions to which no response is required.

 4           14. ECI incorporates paragraphs 15–21 of its Answer to Plaintiffs’ original complaint as

 5   if fully set forth herein.

 6           15. Admit.

 7           16. ECI incorporates Paragraphs 24–235 of its Answer to Plaintiffs’ original complaint as

 8   if fully set for herein.

 9           17. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11           18. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13           19. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15           20. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17           21. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19           22. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21           23. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23           24. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25           25. This paragraph consists of legal conclusions to which no response is required. To the

26   extent that a response is deemed required, deny.

27           26. This paragraph consists of legal conclusions to which no response is required. To the

28   extent that a response is deemed required, deny.
                                      2
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 4 of 35



 1          27. This paragraph consists of legal conclusions to which no response is required. To the

 2   extent that a response is deemed required, deny.

 3          28. This paragraph consists of legal conclusions to which no response is required. To the

 4   extent that a response is deemed required, deny.

 5          29. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          30. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          31. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          32. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          33. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          34. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          35. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          36. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          37. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          38. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          39. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          40. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      3
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 5 of 35



 1          41. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          42. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          43. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          44. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          45. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          46. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          47. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          48. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          49. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          50. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          51. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          52. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          53. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          54. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      4
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 6 of 35



 1          55. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          56. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          57. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          58. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          59. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph including its subparagraphs, therefore deny.

11          60. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          61. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          62. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          63. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          64. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          65. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          66. ECI admits Plaintiffs filed their complaint on June 25, 2019. ECI lacks sufficient

24   knowledge or information to form a belief about the truth of the allegations in this paragraph,

25   therefore deny.

26          67. ECI lacks sufficient knowledge or information to form a belief about the truth of the

27   allegations in this paragraph, therefore deny.

28
                                      5
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 7 of 35



 1          68. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          69. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          70. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          71. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          72. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          73. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          74. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          75. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          76. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          77. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          78. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          79. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          80. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          81. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      6
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          82. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          83. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          84. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          85. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          86. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          87. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          88. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          89. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          90. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          91. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          92. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          93. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          94. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          95. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      7
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 9 of 35



 1          96. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          97 ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          98. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          99. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          100. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          101. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          102. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          103. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          104 ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          105. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          106. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          107. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          108. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          109. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      8
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 10 of 35



 1          110. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          111. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          112. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          113. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          114 ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          115. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          116. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          117. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          118. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          119. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          120. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          121. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          122. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          123. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      9
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 11 of 35



 1          124. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          125. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          126. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          127. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          128. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          129. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          130. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          131. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          132. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          133. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          134. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          135. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          136. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          137. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      10
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 12 of 35



 1          138. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          139. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          140. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          141. This paragraph consists of legal conclusions to which no response is required.

 8          142. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 9   allegations in this paragraph, therefore deny.

10          143. ECI lacks sufficient knowledge or information to form a belief about the truth of the

11   allegations in this paragraph, therefore deny.

12          144. ECI lacks sufficient knowledge or information to form a belief about the truth of the

13   allegations in this paragraph, therefore deny.

14          145. ECI lacks sufficient knowledge or information to form a belief about the truth of the

15   allegations in this paragraph, therefore deny.

16          146. ECI lacks sufficient knowledge or information to form a belief about the truth of the

17   allegations in this paragraph, therefore deny.

18          147. ECI lacks sufficient knowledge or information to form a belief about the truth of the

19   allegations in this paragraph, therefore deny.

20          148. ECI lacks sufficient knowledge or information to form a belief about the truth of the

21   allegations in this paragraph, therefore deny.

22          149. ECI lacks sufficient knowledge or information to form a belief about the truth of the

23   allegations in this paragraph, therefore deny.

24          150. ECI lacks sufficient knowledge or information to form a belief about the truth of the

25   allegations in this paragraph, therefore deny.

26          151. ECI lacks sufficient knowledge or information to form a belief about the truth of the

27   allegations in this paragraph, therefore deny.

28
                                      11
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          152. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          153. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          154. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          155. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          156. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          157. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          158. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          159. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          160. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          161. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          162. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          163. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          164. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          165. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      12
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          166. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          167. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          168. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          169. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          170. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          171. This paragraph consists of legal conclusions to which no response is required. To the

12   extent a response is deemed required, deny.

13          172. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          173. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          174. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          175. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          176. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          177. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          178. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          179. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      13
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-2 Filed 07/13/22 Page 15 of 35



 1          180. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          181. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          182. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          183. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          184. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          185. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          186. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          187. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          188. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          189. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          190. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          191. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          192 ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          193. This paragraph calls for legal conclusions to which no response is required. To the

28   extent a response is required, deny.
                                      14
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          194. This paragraph calls for legal conclusions to which no response is required. To the

 2   extent a response is required, deny.

 3          195. This paragraph calls for legal conclusions to which no response is required. To the

 4   extent a response is required, deny.

 5          196. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          197. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          198. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          199. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          200. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          201. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          202. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          203. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          204. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          205. This paragraph consists of legeal conclusions to which no response is required. To

24   the extent a response is deemed required, ECI admits that the paragraph accurately quotes from

25   the citated court decision, otherwise deny.

26          206. ECI lacks sufficient knowledge or information to form a belief about the truth of the

27   allegations in this paragraph, therefore deny.

28
                                      15
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          207. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          208. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          209. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          210. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          211. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          212. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          213. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          214. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          215. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          216. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          217. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          218. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          219. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          220. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      16
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          221. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          222. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          223. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          224. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          225. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          226. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          227. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          228. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          229. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          230. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          231. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          232. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          233. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          234. This paragraph consists of legal conclusions to which no response is required. To the

28   extent a response is required, deny.
                                      17
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          235. This paragraph consists of legal conclusions to which no response is required. To the

 2   extent a response is required, deny.

 3          236. This paragraph consists of legal conclusions to which no response is required. To the

 4   extent a response is required, deny.

 5          237. This paragraph consists of legal conclusions to which no response is required. To the

 6   extent a response is required, deny.

 7          238. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          239. This paragraph consists of legal conclusions to which no response is required. To the

10   extent a response is required, deny.

11          240. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          241. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          242. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          243. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          244. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          245 ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          246. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          247. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          248. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      18
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          249. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          250. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          251. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          252. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          253. This paragraph consists of legal conclusions to which no response is required. To the

10   extent a response is deemd required, ECI admits that this paragraph accurately quotes from the

11   cited regulations, otherwise deny.

12          254. ECI lacks sufficient knowledge or information to form a belief about the truth of the

13   allegations in this paragraph, therefore deny.

14          255. ECI lacks sufficient knowledge or information to form a belief about the truth of the

15   allegations in this paragraph, therefore deny.

16          256. ECI lacks sufficient knowledge or information to form a belief about the truth of the

17   allegations in this paragraph, therefore deny.

18          257. This paragraph consists of legal conclusions to which no response is required. To the

19   extent a response is required, deny.

20          258. ECI lacks sufficient knowledge or information to form a belief about the truth of the

21   allegations in this paragraph, therefore deny.

22          259. ECI lacks sufficient knowledge or information to form a belief about the truth of the

23   allegations in this paragraph, therefore deny.

24          260. ECI lacks sufficient knowledge or information to form a belief about the truth of the

25   allegations in this paragraph, therefore deny.

26          261. ECI lacks sufficient knowledge or information to form a belief about the truth of the

27   allegations in this paragraph, therefore deny.

28
                                      19
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          262. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          263. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          264. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          265. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          266. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          267. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          268. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          269. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          270. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          271. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          272. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          273. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          274. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          275. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      20
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
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 1          276. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          277. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          278. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          279. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          280. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          281. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          282. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          283. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          284. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          285. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          286. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          287. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          288. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          289. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      21
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          290. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          291. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          292. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          293. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          294. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          295. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          296. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          297. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          298 ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          299. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          300. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          301. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          302. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          303. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      22
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
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 1          304. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          305. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          306. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          307. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          308. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          309. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          310. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          311. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          312 ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          313. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          314. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          315. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          316. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          317. This paragraph consists of legal conclusions to which no response is required. To the

28   extent a response is required, deny.
                                      23
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          318. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          319. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          320. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          321. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          322. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          323. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          324. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          325. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          326. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          327. Admit.

20          328. Admit.

21          329. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          330. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          331. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          332. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      24
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
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 1           333. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3           334. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5           335. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragrap, therefore deny.

 7           336. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9           337. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11           338. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13           339. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15           340. ECI incorporates Paragraphs 236–370 of their Answer to Plaintiffs’ Complaint as if

16   fully set forth herein.

17           341. This paragraph consists of legal conclusions to which no response is required. To the

18   extent a response is required, deny.

19           342. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21           343. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23           344. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25           345. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27           346. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      25
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          347. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          348. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          349. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          350. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          351. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          352. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          353. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          354. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          355. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          356. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          357. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          358. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          359. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          360. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      26
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          361. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          362. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          363. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          364. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          365 ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          366. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          367. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          368. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          369. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          370. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          371. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          372. This paragraph consists of Plaintiffs‘ characterization of their lawsuit to which no

24   response is required. To the extent that a response is deemed required, denied.

25          373. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          374. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      27
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             TO SUPPLEMENTAL COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          375. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          376. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          377. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          378. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          379. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          380. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          381. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          382. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          383. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          384. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          385. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          386. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          387. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          388. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      28
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 1          389. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          390. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          391. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          392. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          393. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          394. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          395. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          396. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          397. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          398. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          399. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          400. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          401. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          402. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      29
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 1          403. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          404. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          405. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          406. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          407. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          408. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          409. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          410. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          411. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          412. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          413. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          414. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          415. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          416. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                      30
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
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 1           417. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3           418. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5           419. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7           420. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9           421. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11           422. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13           423. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15           424. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17           425. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19           426. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21           427. ECI incorporates Paragraphs 371-736 of its Answer to Plaintiffs’ Complaint as if

22   fully set forth herein.

23           428. This paragraph consists of Plaintiffs’ characterization of their supplemental

24   complaint, to which no response is required.

25           429. This paragraph consists of Plaintiffs’ characterization of their supplemental

26   complaint, to which no response is required.

27           430. This paragraph consists of Plaintiffs’ characterization of their supplemental

28   complaint, to which no response is required.
                                      31
     [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
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 1          431. This paragraph including its subparagraphs consists of legal conclusions to which no

 2   response is required. To the extent a response is required, deny. ECI also lacks sufficient

 3   knowledge or information to form a belief about the truth of the allegations in subparagraph (e),

 4   therefore deny.

 5          432. This paragraph consists of legal conclusions to which no response is required. To the

 6   extent a response is required, deny.

 7          434. This paragraph consists of legal conclusions to which no response is required. To the

 8   extent a response is required, deny.

 9          435. ECI incorporates by reference Paragraphs 377–389 of its Answer to Plaintiffs‘

10   Complaint as if fully set forth herein.

11          436. ECI repeats the foregoing paragraphs as if fully set forth herein.

12          437. This paragraph consists of legal conclusions to which no response is required. To the

13   extent a response is required, deny.

14          438. This paragraph consists of legal conclusions to which no response is required. To the

15   extent a response is required, deny.

16          439. This paragraph consists of legal conclusions to which no response is required. To the

17   extent a response is required, deny.

18          440. ECI repeats the foregoing paragraphs as if fully set forth herein.

19          441. This paragraph consists of legal conclusions to which no response is required. To the

20   extent a response is required, deny.

21          442. This paragraph consists of legal conclusions to which no response is required. To the

22   extent a response is required, deny.

23          443. This paragraph consists of legal conclusions to which no response is required. To the

24   extent a response is required, deny.

25          444. This paragraph consists of legal conclusions to which no response is required. To the

26   extent a response is required, deny.

27          445. This paragraph consists of legal conclusions to which no response is required. To the

28   extent a response is required, deny.
                                      32
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 1             446. This paragraph consists of legal conclusions to which no response is required. To the

 2   extent a response is required, deny.

 3             447. This paragraph consists of legal conclusions to which no response is required. To the

 4   extent a response is required, deny.

 5             448. ECI repeats the foregoing paragraphs as if fully set forth herein.

 6             449. This paragraph consists of legal conclusions to which no response is required. To the

 7   extent a response is required, deny.

 8             450. This paragraph consists of legal conclusions to which no response is required. To the

 9   extent a response is required, deny.

10             451. This paragraph consists of legal conclusions to which no response is required. To the

11   extent a response is required, deny.

12             452. This paragraph consists of legal conclusions to which no response is required. To the

13   extent a response is required, deny.

14             453. This paragraph consists of legal conclusions to which no response is required. To the

15   extent a response is required, deny.

16             454. This paragraph consists of legal conclusions to which no response is required. To the

17   extent a response is required, deny.

18             455. This paragraph consists of legal conclusions to which no response is required. To the

19   extent a response is required, deny.

20             The remaining unnumbered paragraphs in the Supplemental Complaint contain requests

21   for relief to which no response is required. ECI denies any allegations not expressly admitted or

22   denied.

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 1   Dated: July 13, 2022                    Respectfully submitted,

 2

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13

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                                             Everglades College, Inc.
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